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01/03/24 BOUCHARD          REVIEW REVISIONS TO PLAN FROM                1.40      1,960.00
                           SECURITIES CLAIMANTS AND DRAFT
                           COMMENTS IN RESPONSE TO SAME
01/04/24 DWOSKIN           REVIEW REVISED PLAN LANGUAGE (.7);           1.40      2,100.00
                           REVISE SEC OFFER OF JUDGMENT (.7)
01/04/24 SILVERBERG        CORRESPONDENCE RE SEC BAR DATE               3.30      5,940.00
                           STIPULATION (.1); CONFERENCE WITH D.
                           TURETSKY REGARDING SETTLEMENT
                           DOCUMENT PROGRESSION (.2);
                           CONFERENCE WITH A. PAPALASKARIS, S.
                           DWOSKIN REGARDING SEC OIS (.6);
                           CORRESPONDENCE WITH W&C TEAM
                           REGARDING SETTLEMENT
                           DOCUMENTATION (.2); CONSIDER DEBTORS
                           PROPOSAL TO ADJOURN SEC
                           DISCHARGEABILITY MOTION (.2); ANALYSIS
                           OF OPEN ITEMS REGARDING PLAN,
                           SETTLEMENT DOCUMENTATION (2.0)
01/04/24 LIETZ             ANALYZE CASE LAW AND RELATED FILINGS         3.10      3,022.50
                           REGARDING SEC SETTLEMENT OFFERS
01/04/24 WINOGRAD          REVIEW DRAFT PLAN                            0.50        900.00
01/04/24 PAPALASKARIS      MEETING WITH B. SILVERBERG AND S.            0.90      1,354.50
                           DWOSKIN RE SEC OFFER OF SETTLEMENT
                           (.6); DISCUSS SAME/FOLLOW-UP RESEARCH
                           WITH T. LIETZ (.3)
01/05/24 LIETZ             ANALYZE CASE LAW AND FILINGS RE SEC          0.80        780.00
                           SETTLEMENT OFFERS
01/05/24 WINOGRAD          EMAILS RE SETTLEMENT                         0.50        900.00
01/05/24 SILVERBERG        CONSIDER PLAN COMMENTS FROM                  2.30      4,140.00
                           SECURITIES PLAINTIFFS, POTENTIAL
                           RESOLUTIONS (2.0); REVIEW ISSUES
                           REGARDNG SEC CLAIMS BAR DATE
                           STIPULATION (.2), CONFERENCES WITH D.
                           TURETSKY REGARDING SAME (.1)
01/08/24 SILVERBERG        CONFERENCES WITH D. TURETSKY                 4.50      8,100.00
                           REGARDING PLAN PROCESS (.7);
                           CONFERENCE WITH D. TURETSKY, R.
                           STARK, E. GOODMAN, S. DWOSKIN
                           REGARDING PLAN, SECURITIES CLASS
                           ACTIONS SETTLEMENT MECHANICS (1.2);
                           RESEARCH RE R 23 CLASS ACTION
                           SETTLEMENT PROCESS (.3); CONFERENCE
                           WITH R. WINNING REGARDING PLAN
                           CONFIRMATION HEARING PLANNING (1.0);
                           CONFERENCE WITH W&C, BR REGARDING
                           10B5/SEC SETTLEMENT (1.0);
                           COORDINATION REGARDING SETTLEMENT
                           CONFERENCE (.3)
01/08/24 HEALY             ANALYSIS OF PROPOSED REVISE ORDER            0.60        639.00
                           AND DECLARATION RE INSURANCE
                           COVERAGE (.3); DRAFT RESPONSE TO
                           COUNSEL FOR INDIVIDUAL DIRECTORS RE
                           COVERAGE ISSUES (.3)
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01/08/24 HEALY             ANALYSIS OF INSURANCE ISSUES RE                 0.20        213.00
                           HIGHTOWER & KROLL LIFT-STAY
01/08/24 STARK             T/C B. SILVERBERG RE STATUS (.5); C/C B.        3.30      7,425.00
                           SILVERBERG, D. TURETSKY RE CASE
                           STRATEGY (1.0); PREPARE FOR AND
                           ATTEND CALL WITH FULL WHITE & CASE,
                           BROWN RUDNICK TEAMS RE OPEN PLAN
                           ISSUES AND RESOLUTION WITH SEC AND
                           CLASS CLAIMANTS (1.5); T/C M. WARTELL
                           RE STATUS AND POTENTIAL OBSTACLES
                           TO CONFIRMATION (.3)
01/08/24 DWOSKIN           CALLS WITH DEBTOR COUNSEL RE PLAN               2.40      3,600.00
                           MECHANICS
01/08/24 BOUCHARD          CONFERENCE WITH BR AND DEBTOR                   2.10      2,940.00
                           COUNSEL RE: PLAN PROVISIONS (.8);
                           LEGAL ANALYSIS RE: REVISED DRAFT OF
                           PLAN (1.3)
01/08/24 GOODMAN           CONFERENCE CALLS WITH THE DEBTOR                2.00      3,200.00
                           REGARDING 7023 MOTION AND RELATED
                           MATTERS
01/09/24 SILVERBERG        CONFERENCE WITH D. TURETSKY                     3.20      5,760.00
                           REGARDING DRAFTING SESSION PREP,
                           CONFIRMATION HEARING COMMENTARY
                           (.2); REVIEW FEEDBACK FROM OHIO
                           PLAINTIFFS COUNSEL (.2), CONFERENCE
                           WITH D. TURETSKY REGARDING SAME,
                           COORDINATING FURTHER REVIEW (.4);
                           CONSULT WITH R. STARK REGARDING OHIO
                           SETTLEMENT (.2); PREPARATIONS FOR 1/10
                           ALL HANDS MEETING RE 7023 APPROVAL
                           PROCESS (2.2)
01/09/24 STARK             PREPARATION FOR IN-PERSON PLAN                  2.00      4,500.00
                           NEGOTIATIONS ON 1/10 (1.5); T/C B.
                           SILVERBERG RE SAME (.5)
01/09/24 DWOSKIN           REVIEW PLAN REVISIONS RE OHIO                   1.40      2,100.00
                           SETTLEMENT CLASS
01/09/24 BOUCHARD          CONFERENCE WITH B. SILVERBERG L RE:             0.90      1,260.00
                           PLAN PROVISIONS (.4); LEGAL ANALYSIS
                           RE: SAME (.5)
01/10/24 SILVERBERG        REVIEW REVISIONS TO OIS WITH SEC (.7);          6.20     11,160.00
                           ATTEND AND PARTICIPATE AT SETTLEMENT
                           CONFERENCE WITH W&C, LOWENSTEIN,
                           LABATON, R. STARK (5.3); ATTEND HEARING
                           RE ADJOURNMENT OF CONFIRMATION
                           HEARING (.2)
01/10/24 STARK             PREPARE FOR (.7) AND ATTEND PLAN                6.50     14,625.00
                           NEGOTIATING SESSION AT WHITE & CASE
                           (5.3); T/C A. SOLE RE STATUS (.5)
01/10/24 DWOSKIN           REVIEW SEC OFFER OF SETTLEMENT                  1.10      1,650.00
01/10/24 STARK             ATTEND COURT STATUS CONFERENCE                  0.50      1,125.00
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01/11/24 SILVERBERG        CONFER REGARDING SEC SETTLEMENT                4.20      7,560.00
                           DOCUMENTATION, OHIO SETTLEMENT (1.5);
                           CONFERENCE WITH D. TUREKTSKY, R.
                           KAMPFNER, S. DWOSKIN RE SEC
                           DOCUMENTATION (1.1); CONFERENCE WITH
                           D. TURETSKY REGARDING SEC OIS,
                           REVERTING WITH COMMENTS (.5);
                           CONFERENCES WITH S. DWOSKIN, D.
                           TURETSKY REGARDING SEC SETTLEMENT,
                           PLAN TREATMENT COMMENTS (1.1)
01/11/24 LIETZ             ANALYZE CASES AND CONFER INTERNALLY            0.40        390.00
                           RE SEC OFFERS OF SETTLEMENT
01/12/24 SILVERBERG        CONFERENCE WITH S. DWOSKIN, T. LEITZ,          0.80      1,440.00
                           ET AL. REGARDING SEC SETTLEMENT
                           DOCUMENTATION (.6); COMMUNICATIONS
                           WITH J. FITZSIMMONS REGARDING D&O
                           QUESTIONNAIRES (.2)
01/12/24 LIETZ             PARTICIPATE IN CALL WITH J. CROKE,, D.         1.60      1,560.00
                           TURETSKY, B. SILVERBERG, AND S.
                           DWOSKIN RE SEC OFFER OF SETTLEMENT
                           (.5); PARTICIPATE IN CALL WITH B.
                           SILVERBERG, S. DWOSKIN, AND A.
                           PAPALASKARIS RE SEC OFFER OF
                           SETTLEMENT ( .5); CONDUCT RESEARCH
                           RE: SEC SETTLEMENT (.6)
01/12/24 DWOSKIN           REVISE SEC OFFER OF SETTLEMENT (1.8);          3.80      5,700.00
                           CALL RE SAME WITH DEBTORS COUNSEL
                           (.5); REVISE PLAN SUPPLEMENT (.3);
                           REVIEW INDEMNIFICATION CLAIM (1.2)
01/12/24 STARK             T/C S. DWOSKIN RE STATUS AND                   1.00      2,250.00
                           STRATEGY (.5); T/C A. SOLE RE SAME (.5)
01/12/24 PAPALASKARIS      CALL WITH S. DWOSKIN AND B.                    0.90      1,354.50
                           SILVERBERG RE SEC SETTLEMENT OFFER
                           (.4); PREPARE FOR SAME (.4); FOLLOW-UP
                           CALL WITH T LIETZ (.1)
01/13/24 SILVERBERG        REVIEW REVISED DRAFT OF 7023 MOTION,           0.60      1,080.00
                           PLAN
01/15/24 DWOSKIN           REVIEW REVISED PLAN                            1.60      2,400.00
01/15/24 BOUCHARD          REVIEW AND REVISE DEBTOR REVISIONS             1.40      1,960.00
                           TO PLAN
01/15/24 SILVERBERG        REVIEW PLAN COMMENTS FROM N.                   0.20        360.00
                           BOUCHARD RE TRUST, OHIO SETTLEMENT
                           PROVISIONS
01/16/24 WINOGRAD          REVIEW DRAFT PLAN                              0.30        540.00
01/16/24 FLINK             FOLLOW-UP RE PLAN STATUS                       0.20        290.00
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01/16/24 SILVERBERG        CONFERENCE WITH R. STARK REGARDING          2.00      3,600.00
                           SETTLEMENT DOCUMENTATION STATUS
                           (.3); CONFERENCES WITH D. TURETSKY
                           REGARDING TURN OF PLAN COMMENTS
                           (.2), FOLLOWUP CONFERENCE WITH S.
                           DWOSKIN REGARDING 7023 MOTION
                           RESOLUTION (.3) ; REVIEW AND PROVIDE
                           COMMENTS TO 7023 STIPULATION (1.0);
                           CONSULT WITH D. TURETSKY REGARDING
                           ADJOURNED CONFIRMATION HEARING
                           DATE (.2)
01/17/24 FLINK             FOLLOW-UP RE PLAN STATUS                    0.20        290.00
01/17/24 SILVERBERG        CONTINUED REVISIONS AND                     1.70      3,060.00
                           CONSIDERATION TO PLAN REVISIONS, 7023
                           MOTION RESOLUTION
01/17/24 CUSHING           REVIEW NEW ORGANIZATIONAL                   2.10      2,394.00
                           DOCUMENTS (.4); REVIEW REVISIONS TO
                           PLAN (.3); ORGANIZE OUTSTANDING
                           GOVERNANCE MATTERS (.3); ADDRESS
                           OUTSTANDING GOVERNANCE MATTERS
                           (.5); PROVIDE ADVICE WITH RESPECT TO
                           D&O QUESTIONNAIRE AND VARIOUS
                           FORMS (.6)
01/18/24 FLINK             FOLLOW-UP RE OPEN CORPORATE ITEMS           0.30        435.00
01/18/24 DWOSKIN           REVIEW REVISED PLAN AND STIPULATION         2.20      3,300.00
01/18/24 SILVERBERG        REVIEW REVISED STIPULATION, PLAN            1.00      1,800.00
                           INCORPORATING SETTLEMENT TERMS
01/19/24 DWOSKIN           ALL HANDS CALL TO REVISE PLAN AND           2.20      3,300.00
                           STIPULATION
01/19/24 STARK             PREPARE FOR AND CONDUCT T/C M.              1.00      2,250.00
                           WARTELL RE ISSUES PERTINENT TO
                           CLOSING AND POST-CONFIRMATION
01/19/24 SILVERBERG        CONFERENCE WITH R. WINNING                  0.50        900.00
                           REGARDING RESERVES, PLAN
                           IMPLEMENTATION ISSUES
01/19/24 SILVERBERG        DRAFTING SESSION RE 7023 STIPULATION,       2.60      4,680.00
                           REVISED PLAN WITH W&C, LOWENSTEIN
                           TEAMS (2.1); CONFERENCE WITH D.
                           TURETSKY REGARDING PLAN
                           CONFIRMATION HEARING SCHEDULING (.1);
                           CONSIDER ADDITIONAL ISSUES
                           REGARDING SETTLEMENT
                           DOCUMENTATION (.4)
01/19/24 DWOSKIN           REVIEW REVISED PLAN                         1.10      1,650.00
01/19/24 CUSHING           ADDRESS REVIEW OF NEW                       1.60      1,824.00
                           ORGANIZATIONAL DOCUMENTS (.8);
                           EXAMINE OUTSTANDING GOVERNANCE
                           MATTERS (.8)
01/22/24 DWOSKIN           REVISE PLAN AND STIPULATION                 1.60      2,400.00
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01/22/24 SILVERBERG        CONFERENCE WITH R. WINNING RE               1.30      2,340.00
                           RESERVE, PLAN IMPLEMENTATION ISSUES
                           (.8); REVIEW REVISED PLAN, COMMENTS
                           (.5)
01/22/24 CUSHING           ADDRESS INQUIRIES REGARDING                 1.20      1,368.00
                           POTENTIAL NAME CHANGE (.4); ATTENTION
                           TO OUTSTANDING CORPORATE
                           GOVERNANCE MATTERS (.8)
01/23/24 CUSHING           REVIEW CURRENT FORM OF PLAN (.4) AND        2.30      2,622.00
                           CONFIRMATION ORDER (.5); REVIEW
                           STATUS OF CORPORATE GOVERNANCE
                           MATTERS (.3); ATTENTION TO CORPORATE
                           GOVERNANCE MATTERS (1.1)
01/23/24 DWOSKIN           REVIEW REVISED CONFIRMATION ORDER           0.90      1,350.00
01/23/24 SILVERBERG        CONFERENCE WITH R. STARK REGARDING          1.80      3,240.00
                           DOCUMENTATION, SETTLEMENT OPEN
                           ITEMS (.3); REVIEW REVISED TURN OF
                           PLAN, CONFIRMATION ORDER (.8);
                           ATTENTION TO CORPORATE GOVERNANCE,
                           NAME RESERVATION (.5); REVIEW
                           INCOMING COMMENTS TO SEC
                           SETTLEMENT DOCUMENTATION (.2)
01/24/24 FLINK             REVIEW OPEN ITEMS AND                       0.30        435.00
                           CORRESPONDENCE RE THE SAME
01/24/24 DWOSKIN           REVIEW REVISED PLAN                         1.90      2,850.00
01/24/24 CUSHING           ATTENTION TO CORPORATE GOVERNANCE           1.90      2,166.00
                           MATTERS (1.3); REVIEW REVISED
                           CONFIRMATION ORDER (.6)
01/24/24 SILVERBERG        REVIEW REVISED SETTLEMENT                   1.70      3,060.00
                           DOCUMENTATION (.7); COMMUNICATE TO A.
                           SOLE REGARDING STATUS OF
                           DOCUMENTATION (.3); CONFERENCE WITH
                           R. KAMPFNER REGARDING SETTLEMENT
                           DOCUMENTATION (.2); CONFERENCE WITH
                           S. DWOSKIN REGARDING SETTLEMENT
                           DOCUMENTATION (.2); EVALUATE PENDING
                           CORPORATE GOVERNANCE
                           DOCUMENTATION (.3)
01/25/24 FLINK             FOLLOW-UP RE OPEN CORPORATE ITEMS           0.30        435.00
01/25/24 SILVERBERG        CONFERENCE WITH R. KAMPFNER                 2.20      3,960.00
                           REGARDING SETTLEMENT
                           DOCUMENTATION, PLAN (.7);
                           CONFERENCES WITH R. STARK
                           REGARDING SETTLEMENT PARAMETERS
                           (.3); REVIEW INTERNAL CORRESPONDENCE
                           REGARIDNG CONFIRMATION ORDER (.2);
                           REVIEW PROPOSED REVISIONS TO PLAN
                           (1.0)
01/25/24 DWOSKIN           REVISE CONFIRMATION ORDER                   1.80      2,700.00
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01/25/24 CUSHING           REVIEW NAME CHANGE COVENANT AND                1.40      1,596.00
                           PROVIDE ADVICE REGARDING SAME (.6);
                           REVIEW AND ANALYZE REVISIONS TO
                           CONFIRMATION ORDER AND PROVIDE
                           ADVICE REGARDING SAME (.8)
01/26/24 DWOSKIN           REVISE OHIO PLAINTIFFS' PROPOSED               1.80      2,700.00
                           CHANGES TO PLAN (1.2); CALL WITH
                           DEBTORS' COUNSEL RE SAME (.2); REVIEW
                           REVISED OFFER OF SETTLEMENT (.4)
01/26/24 SILVERBERG        CONFERENCE WITH R. KAMPFNER                    1.40      2,520.00
                           REGARDING PLAN MODIFICATIONS (.2);
                           CONFERENCES WITH S. DWOSKIN
                           REGARDING PLAN MODIFICATIONS (.4);
                           CONFERENCE WITH R. STARK REGARDING
                           PLAN MODIFICATIONS (.3); CONSIDER
                           REVISIONS TO PLAN FOR SECURITIES
                           PLAINTIFFS (.5)
01/29/24 SILVERBERG        REVIEW REVISIONS TO PLAN FROM OHIO             3.70      6,660.00
                           PLAINTIFFS (.2); CONFERENCE WITH S.
                           DWOSKIN REGARDING PLAN COMMENTS
                           (.2); CONFERENCE WITH R. KAMPFNER, RJ,
                           S. DWOSKIN REGARDING PLAN COMMENTS
                           (.8); CONFERENCE WITH R. KAMPFNER, D.
                           TURETSKY, S. DWOSKIN REGARDING PLAN
                           MODIFICATIONS (.9); CONFERENCE WITH D.
                           TURETSKY REGARDING PLAN
                           MODIFICATIONS (.2); FURTHER ANALYSIS
                           OF PROPOSED PLAN MODIFICATIONS (1.0);
                           FOLLOWUP INTERNAL CORRESPONDENCE
                           REGARDING FEEDBACK/REPONSES (.4)
01/29/24 DWOSKIN           REVIEW OHIO PLAINTIFFS' REVISIONS (.7);        2.00      3,000.00
                           CALLS WITH DEBTORS' COUNSEL RE SAME
                           (1.3)
01/30/24 SILVERBERG        REVIEW CORRESPONDENCE TO W&C TEAM              1.00      1,800.00
                           REGARDING PLAINTIFF, UCC PLAN
                           COMMNETS (.4); CONFERENCE WITH R.
                           KAMPFNER, D. TURETSKY, S. DWOSKIN
                           REGARDING PLAN MODIFICATIONS (.6)
01/30/24 BOUCHARD          REVIEW AND RESPOND TO                          0.20        280.00
                           CORRESPONDENCE FROM M3 RE: TAX
                           FILINGS AND IDENTIFICATION NUMBERS
01/30/24 DWOSKIN           REVISE PLAN (1.9); CALLS WITH DEBTOR           3.30      4,950.00
                           COUNSEL RE SAME (1.4)
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